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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                       8:22CR51

        vs.
                                                                          ORDER
CHRISTOPHER H. EVANS,

                        Defendant.


       This matter is before the court on Defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [32]. For good cause shown, I find that the motion should be granted.
Defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by
August 26, 2022.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS
[32] is granted. Pretrial motions shall be filed on or before August 26, 2022.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between July 27, 2022, and August 26, 2022, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).

       Dated this 28th day of July, 2022.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
